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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                             CIVIL MINUTES - TRIAL


 Case No.:        CV 16-03086-AB (AJWx)                                                                      Date:        October 9, 2019
 Title:           Marcus Vaughn, et al v. City of Los Angeles, et al


 Present: The Honorable               ANDRÉ BIROTTE JR., United States District Judge
                           Carla Badirian                                                                   Chia Mei Jui
                           Deputy Clerk                                                                    Court Reporter


            Attorney(s) Present for Plaintiff(s):                                            Attorney(s) Present for Defendant(s):
                                                                                                           Cory M Brente
                           Dale K Galipo                                                                    Lisa W Lee
                           Marcel Sincich                                                                  Colleen Smith

                              Day Court Trial                       6th                   Day Jury Trial
                                                st
           One day trial:           Begun (1 day);               Held & Continued;          √      Completed by jury verdict/submitted to court.
      The Jury is impaneled and sworn.
      Opening statements made by
      Witnesses called, sworn and testified.              Exhibits Identified             Exhibits admitted.

      Plaintiff(s) rest.                                  Defendant(s) rest.
      Closing arguments made by                           plaintiff(s)                  defendant(s).                 Court instructs jury.
      Bailiff(s) sworn.                                   Jury retires to deliberate.                           √     Jury resumes deliberations.
 √    Jury Verdict in favor of                            plaintiff(s)            √     defendant(s) is read and filed.
      Jury polled.                                   √    Polling waived.
 √    Filed Witness & Exhibit Lists                  √    Filed jury notes.             Filed jury instructions.
      Judgment by Court for                                                              plaintiff(s)                  defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                          plaintiff(s)                  defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                        is            granted.            denied.            submitted.
      Motion for mistrial by                                                      is            granted.            denied.            submitted.
      Motion for Judgment/Directed Verdict by            Defendants               is            granted.            denied.            submitted.
      Settlement reached and placed on the record.

      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
 √    Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
      Case continued to                                                                     for further trial/further jury deliberation.
                  Jury Note No. 1 is received and discussed on the record outside of the presence of the Jury. Jury Note No. 2 is received
                  indicating that the Jury has reached a verdict. Verdict is read and placed on the record. Defendants shall submit a Proposed
 √    Other:      Judgment within 14 days.

                                                                                                                       00         :        35


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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - TRIAL
                                                      Initials of Deputy Clerk   CB
cc:




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